Case 2:18-cv-08048-SVW-.]C Document 16 Filed 09/18/18 Page 1 of 4 Page |D #:112

Name and address:
Ionathan D. Grunberg (pro hac vice pending)
L. LIN WOOD, P.C.
1180 West Peachtree Street, Suite 2400
Atlanta, Georgia 30309
Telephone: (404) 891-1402 | Facsimile: (404) 506-9111

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

VERNON UNsWoRTH CASE NUMBER
Plaintiff(s),
V.
APPLICATION oF NON-RESIDENT ATTORNEY
ELoN MUSK TO APPEAR IN A SPECIFIC CASE
Defendant(s), PRO HAC VICE

 

 

INSTRUCTIONS FOR APPLICANTS

(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOTACCEPTED. Space to
supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing ( issued within the last 30
days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF)file.

(2) Have the designated Local Counseljile the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
=> Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64) '9, attach a Proposed Order ( using
Form G-64 ORDER, available from the Court's website), and pay the required $400 fee online at the time of filing ( usinga credit card).
The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
denying the Application. Out-of-state federal government attorneys are not required to pay the $400fee. (Certain attorneys for the
United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the G~64 ORDER in
Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

SECTIONI - INFORMATION
Grunberg, jonathan D.

 

 

 

 

 

 

 

Applicant's Name (Last Name, First Name e'¢ Middle lnitial) check here if federal government attorney I:l
L. Lin Wood, P.C.
Firm/Agency Name
1 180 West Peachtree Street (404) 891-1402 (404) 506-91 l 1
Telephone Nurnher Fax Number
StreetAddress
Atlanta, Georgia 30309 jgrunberg@linwoodlaw.com
City, State, Zip Code E-mail Address

I have been retained to represent the following parties:

VERNON UNSWORTH fX| Plainti)j‘(s) [:} Defendant(s) [:} Other:
m Plaintijj‘(s) [:} Defendant(s) |:j Other:

 

Name(s) of Party( ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership Use Section IV if more room is needed, or to provide additional information

 

 

 

 

Name of Court Date of Admission Active Member in Good Standine? ( if not, please explain )
Georgia Superior and State Courts Decernber 2010 YES
USDC, Northern District of Georgia February 2013 YES
Georgia Court of Appeals ]anuary 2012 YES

 

 

G~64 (07/18) APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page l 0{3

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List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):

 

Case Number Title of Action Date of Application Granted / Denied?
N/A N/A N/A N/A

 

 

 

 

 

If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:

No

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? f:] Yes No
Ifyes, was the applicant's CM/ECF User account associated with the e-mail address provided above? m Yes |:] No

 

Previous E-mail Used ( if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case. Pursuant to Local Rule 5~3.2.3, registering as a CM/ECF User is deemed consent, for purposes of I~'ed. R. Civ.
P. 5(b)(2)(E), to electronic service of documents through the CM/ECFSystem. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form (Form G-05, available from
the Court's website). If the Court receives an Electronic Service Exemption Forrn from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel of record; instead, copies of such documents will be sent to you

through the mail.

SECTION II ~ CERTIFICATION

l declare under penalty of perjury that:

(1) All of the above information is true and correct.

(2) l am not a resident of the State of California. l am not regularly employed in, or engaged in substantial business,
professional, or other activities in the State of California.

(3) l am not currently suspended from and have never been disbarred from practice in any court.

(4) I am familiar with the Court's Local Civil and Criminal Rules, the Pederal Rules of Civil and Criminal Procedure,
and the Federal Rules of Evidence.

(5) I designate the attorney listed in Section III beloW, who is a member in good standing of the Bar of this Court and
maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local

Rule 83~2.1.3.4.

Dated §§ l'"’l § l§' lonathan D. Q,§unberg
»Wm/

Applicant

AppliWignature\

G~64 (07/18) APPLlCATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE Page 2 of 3

 

  

 

 

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SECTION III ~ DESIGNATION OF LOCAL COUNSEL
CHATHAM, \R. CHRISTOPHER

 

Designee's Name (Last Name, First Name dr Middle Initial)

 

 

 

 

 

 

CHATHAM LAW GROUP
Firm/Agency Name
3109 W. Temple Ave 213-277-1800
Telephone Number Fax Number
Street Address chris@chathamfirm.com
Los Angeles, CA 90026 E'm“il A‘ldre$$
City, State, Zip Code ' 240972

 

Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.

Dated 57 / 7\ /Y R. CHRISToPHER cHATHAM
Desigr§ Name ( please type or print)
2 iv

w

 

 

Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

 

Additional Courts:

Georgia Court of Appeals, lanuary 2012, YES

Georgia Supreme Court, lanuary 2012, YES

Circuit Court of the llth Iudicial Circuit, Miami-Dade County, February 2014, YES
United States District Court, Northern District of California, ]anuary 2015, YES
Third Circuit Court, Wayne County Michigan, November 2016, YES

Court of Appeals for the 2nd Circuit, lurie 2014, YES

Court of Appeals for the 9th Circuit, March 2014, YES

US District Court, District of Arizona, 2013, YES

US District Court, Southern District of New York, 2012, YES

District Court, Clark County, Nevada, ]une 2018, YES t

United States District Court, District of Nevada, April 2018, YES

 

 

 

 

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State Bar
of Georgia

 

 

Lau)yers Serving the Public and the Justice System

Mr. Jonathan David Grunberg

L. Lin Wood PC

1180 W Peachtree Street NW, Suite 2400
Atlanta, GA 30309

CURRENT STATUS: Active Member-Good Standing
DATE OF ADMISSION: 12/03/2010

BAR NUMBER: 869318

TODAY'S DATE: 09/14/2018

The prerequisites for practicing law in the State of Georgia are as follows:

' Certif“led by the Ofiice of Bar Admissions, either by Exam, or on Motion (Reciprocity).
l Sworn in to the Superior Court in Georgia, highest court required to practice law in Georgia.
' Enrolled with the State Bar of Georgia, administrative arm of the Supreme Court of Georgia.

This member is currently in “good standing” as termed and defined by State Bar Rule 1~204. The member is
current in license fees and is not suspended or disbarred as of the date of this letter.

STATE BAR OF GEORGIA

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Off'lcial Representative of the State Bar of Georgia

 

 

HEADQUARTEKS COASTAL GEOKG[A OFFICE SOUTI'l GEOKG|A OFF[CE
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